Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 1 of 31




EXHIBIT “A”
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 2 of 31

                                                                              State Court of Fulton County
                                                                                               X 1C             XXX
                                                                                                      *EFILED

                                                                                          File & ServeXpress
                                                                                         Transaction ID: 66361842
                         IN THE STATE COURT OF FULTON COUNTY                           Date: Feb 23 2021 01:18PM
                                   STATE OF GEORGIA                               Christopher G. Scott, Chief Clerk
                                                                                                     Civil Division
 1 , ITIr11a ~.~Iyii1~
 -V.

         Plaintig                                             CIVII., ACTION FILE NO.:

 vs.

FAMIL.Y DOLLAR STORES OF GEORGIA,
LLC, EASTPOINT FD FREESTANDING,
LLC, ABC CO., LLC, and XYZ, INC.

         Defendants.

              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

         COMES NOW, TAMMIE LOWE, Plaintifi in the above-styled action and files this

Complaint for Damages and Demand for Jury Trial against Defendants Family Dollar Stores of

Georgia, LLC, Eastpoint FD Freestanding, LLC, ABC CO., LLC and XYZ, INC. and in support

thereot shows this Honorable Court as follows:

                           PARTIES, JURISDICTION AND VENUE



        Plaintiff TAMIVIIE LO WE, (hereina$er "Plaintiff ) is a citizen and resident of the state of

Georgia and resides in Fulton County. By bringing this action, she subjects herself to the

jurisdiction and venue of this Court.

                                                 2.

        Defendant FAMILY DOLLAR STORES OF GEORGIA, LLC is a foreign limited

liability cornpany registered to do business and is doing business in the State of Georgia.

Defendant may be served with a copy of the Sunmions and Complaint through its Registered

Agent: Corporation Service Company, 40 Technology Parkway South, #300, Norcross, GA




                                                 1
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 3 of 31




 30092. Defendant is subject to the jurisdiction and venue of this Court pursuant to O.C.G.A. §

 14-2-510.

                                                a
        DefendaYrt EASTPOINT FD FREESTANDING, LLC, is a domestic limited liabifity

 company registered to do business and is doing business in the State of Georgia. Defendant May

be served with a copy of the Sunnnons and Complaint through its Registered Agent, David

Andes, at 201 Allen Rd, Ste 300, Atlanta, GA 30328. Defendant is subject to the jurisdiction and

venue of this Court pursuant to O.C.G.A. § 14-2-510.

                                                4.

        The true names or capaciries of the Defendants nanied herein as ABC Co., LLC and

XYZ, Inc. are unknown to the PlamK who therefore sues said defendants by such fictitious

names. Plaintiff wi71 amend her Complaint to show said Companies' true names when the same

bave been ascertained. Plaintiff alleges on information and belief that said defendant companies

may also be jointly and severally liable for the negligent acts or onvssions alleged herein. Venue

and jurisdiction are proper in this Court.

                                     SUBSTANTIVE FACTS

                                               5.

       On May 18, 2019, Defendant Fami7y Dollar Stores of Georgia, LLC (hereina$er "T'amily

Dollar" owned and/or operated a Family Dollar store, located at 2433 DeLowe Drive, East Point,

Georgia 30344.

                                               6.

       On May 18, 2019, Defendant Eastpoint FD Freestand'mg, LLC (hereinaffter "Eastpoint

FD') owned and/or operated a Family Dollar store, located at 2433 DeLowe Drive, East Point,


                                               2
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 4 of 31




 Georgia 30344.

                                                    7.

        On May 18, 2019, Plaintiff entered the subject premises as a customer and invitee. A$er

 checking out, Plaintiff made her way to the exit with her shopping cart of purchased goods.

                                                    8.

        Suddenly and without warning, the shopping cart's front wheels encountered a sticky

substance on the floor, believed to be an old soda spR causing the cart's wheels to seize and

Plaintiff to lose her balance and to fall violently to the floor.

                                                   a
        At the time in question, there were no warning signs alerting customers to any spiEs or

ha7ards on the floor surface.

                              COUNT I:
    LIABILITY OF DEFENDANT FAMILY DOLLAR STORES OF GEORGIA, LLC

                                                   10.

       Plaintifl' hereby incorporates Paragraphs 1 tbrough 9 above by reference as if set forth

expressly herein.

                                                  11.

       Plaintiff was an invitee at Defendant Fami7y Dollar's store.

                                                  12.

       At all times relevant to this action, Defendant Fan-nly Dollar owed a duty to its invitees in

general and Plaintiff in particular to maintain the premises in a reasonably safe condition, to

inspect for dangerous conditions, con-ect dangerous conditions of which it knew or should have

known, and to warn Plaintiff and others of the dangerous condition presented by foreign

substances on the floor, about which it knew or should have known.


                                                   3
          Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 5 of 31




                                                   13.,

          Defendant Family Dollar's negligence proxiinately caused Plaintifl's injuries because it

breached its duty to maintain the premises in a reasonably safe condition or take any measure to

render safe a hazardous condition of which Defendant Famdy Dollar knew or should have

knowri.

                                                  14.

          As a direct result of Defendant Family Dollar's negligence, Plaintiff has suffered bodily,

niental, eniotional and financial injuries, for which she is entitled to recover under the law.

Defendant Family Dollar is liable to Plaintiff for her injuries.

                                                  15.

          At all times relevant hereto, Defendant Family Dollar and its agents, servants, and/or

employees had actual or constructive knowledge of the foreign substance on the floor, but fafled

to correct the situation where Defendant Farrnly Dollar had a duty to act.

                                                  16.

          The injuries suffered by Plaintiff were a foreseeable and lilcely outcome of Defendant

Family Dollar's faflure to render the prenvses safe.

           COUNT II: NEGLICENCE OF EASTPOINT FD FREESTANDING, LLC

                                                  17.

          Plaintiff incorporates Paragraphs 1 through 16 by reference as if set forth expressly

herein.

                                                  18.

          Plaintiff was an invitee at Defendant Eastpoint FD's store.




                                                   4
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 6 of 31




                                                  19.

        At all times relevant to this action, Defendant Eastpoint FD owed a duty to its invitees in

general and Plaintiff in particular to maintain the prenvses in a reasonably safe condition, to

inspect for dangerous conditions, correct dangerous conditions of which it knew or should have

known, and to warn Plaintiff and others of the dangerous condition presented by foreign

substances on the floor, about which it knew or should have known.

                                                  20.

        Defendant Eastpoint FD's negligence proxhmtely caused Plaintiff's injuries because it

breached its duty to maintain the prenvses and instnimentalities thereon in a safe condition or

take any measure to render safe a haurdous condition of which Defendant Eastpoint FD knew or

should have known.

                                                  21.

        As a direct resutt of Defendant Eastpoint FD's negligence, Plaintif has suffered bodfly,

mental, emotional and fmancial injuries, for wbich she is entitled to recover under the law.

Defendant Eastpoint FD is liable to Plaintiff for her injuries.

                                                 22.

       At all times relevant hereto, Defendant Eastpomt FD and its agents, servants, andlor

employees had actual or constructive knowledge of the hazard causing Plaintiff's fall, but fafled

to either warn of it, or to correct the hazard where there was a duty to act.

                                                 23.

       The injuries suffered by Plaintiff were a foreseeable and lkely outcome of Defendant

Eastpoint FD's faflure to render the premises safe.




                                                  k,
          Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 7 of 31




                 COUNT III: NEGLIGENCE OF ABC, Co. LLC and XYZ, INC

                                                  24.

          Plaintiff incorporates paragraphs 1 through 23 by reference as if set forth expressly

herein.

                                                  25.

          Defendants ABC, Co. LLC and XYZ, Inc., are negfigent in the manner stated in this

Compla.int.

                                             DAMAGES

                                                  26.

          Plaintiff incorporates paragraphs 1 through 25 by reference as if set forth expressly

herein.

                                                  27.

          Plaintiff claims general damages against Defendants for all elements of the pain and

suffering, physical and mental injury, including fright, shock, and terror; and loss of the capacity

for the enjoyment of life in an amoimt to be determined by the enfightened conscience of the jury

a$er hearmg the evidence at triaL

                                                  18.

          Plaintiff also claims special damages for any past and fiiture medical bMs, and incidental

expenses incurred on her behalf in an amount of $50,634.80, which reflects the reasonable value

of those services as established by evidence at trial.


                                      PRAYER FOR RELIEF


          VWIMREFORE, Plaintiff Tammie Lowe prays for the following relief:



                                                  6
      Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 8 of 31




    (a) That Sunnnons issue requiring Defendants to appear as provided by law to answer this

        Complaint;

    (b) That Plaintiff has a trial by jury on all issues so triable;

    (c) That the Court enter judgnnent in favor of Plaintiff and against Defendants;

    (d) That the Court enter judgment m favor of Plaintiff and against Defendants for general and

       special damages as descnbed herein in an amount to be determined by the enlightened

       conscience of the jury;

    (e) That Plaintiff recover all con4)ensatory damages for the liab>7ity of Defendants claimed

       in the paragraphs above, and any other damages authorized by Georgia law under the

       evidence adduced at tria];

    (1} That Plaintiff is awarded attorneys' fees and expenses of litigation in accordance with

       O.C.G.A.§ 13-6-11;

    (g) That Plaintiff be awarded any such other and further relief that the Court or jury deems

       just and equitable.


       Respectfully submitted this 23rd day of February, 2021.


                                                         MORRISS I SHIM I DAVIS, LLC


                                                         /s/.7ordan T. Davis
                                                        Daniel Shim
                                                        Georgia State Bar No. 642749
                                                        Jordan T. Davis
                                                        Georgia State Bar No. 492277
2233 Peachtree Rd., NE                                  Attorneysfor Plaintiff
Suite 212
Atlanta, Georgia 30309
P:404-525-8000
F:404-525-2573
    a,rnsdlaw gro up.co m
dan(~
jordan(~
       a,msdlawgroup.com

                                                   7
                 Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 9 of 31

                                                                                                                            State Court of Fulton County
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                                                                                                                                               * EFILED** X
   GEORGIA, FULTON COUNTY
                                                                                                  DO NOT WRITE IN THIS SPACE
                                                                                                                     File & ServeXpress
                                                                                                                    Transaction ID: 66363261
   STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: 21 EV001154     Case Number: 21EV001154
                     Civil Division
                                                                                                                  Date: Feb 23 2021 01:58PM
                                                                                                             Christopher G. Scott, Chief Clerk
                                                                                                                                Civil Division

   Tammie Lowe
                                                                                [ ]ACCOUNT                          PRINCIPAL $ TBD
                                                                                ( ]CONTRACT
                                                                                 [ [ NOTE                           INTEREST $_ _ TBD
                                                                                [ [ TORT
  Plainfifrs Name, Address, City, State, Zip Code                               [-,`PERSONALINJURY        ATTY. FEES $ TBD
                                                                                ( ] FOREIGN JUDGMENT
                            «I                                                  [ ] TROVER                COURT COST $ _TBD
                                                                                [ ] SPECIAL LIEN
  Family Dollar Stores of Georgia, LLC,                                                           ............
                                                                                [ ~fNEW FILING
  40 Technology Parkway South #300                                              ( ] RE-FILING: PREVIOUS CASE N0.
  Norcrc GA                         30092
  DefendanYs Name, Address, City, State, Zip Code

                SUMMONS
  TO THE ABOVE NAMED-DEFENDANT:
   You are hereby required to file with the Clerk of said court and to
                                                                         serve a copy on the Plaintiffs Attomey, or on Plaintiff if no Attorney
                                                                                                                                               , to-wit
 Name: Daniel Shim / Morriss, Shim & Davis
 Address: 2233 Peachtree RD NE Ste. 212
 City, State, Zip Code: Atlanta, GA 30309
                                                                                               Phone No.: (404) 525-8000
 An answer to this complaint, which is herewith served upon you,
                                                                    must be flled writhin thirty (30) days after service, not counting the
 fail to do so, judgment by default will be taken against you for the relief demand                                                 day of senrice. If you
                                                                               ed in the complaint, plus cost of this action. DEFENSES MAY BE MADE S
 JURY TRIAL DEINANDED, via electronic filing or, if desired, at the
                                                                    e-filing public access terminal in the Self-Help Center at 185
 Ground Floor, Room TG300, Atlanta, GA 30303.                                                                                        Central Ave., S.W.,


                                                                                             Christopher G. Scott, Chief Clerk (electronic signature)




SERVICE 1NFORMATION:
 Served, this       _ day of —                             20
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY
WRITE VERDICT HERE:
We, the jury, find for _


This             day of                                 20                                                                  Foreperson

                                                        (STAPLE TO FRONT OF COMPLAINT)
Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 10 of 31
                                                    State Court of Fulton County
                                                                  ***EFILED***
                                                              File & ServeXpress
                                                                Transaction ID: 66363261
                                                              Case Number: 21EV001154
                                                              Date: Feb 23 2021 01:58PM
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                                                                            Civil Division
Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 11 of 31
                                                    State Court of Fulton County
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                                                              Case Number: 21EV001154
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                                                                            Civil Division
                           Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 12 of 31
                      ~ ~ •~'~ ~r                                                                                                 ., --,~-C~•.~'c ~ ;~
    ..     _                                                                                                                                              ~Pr~int Form
                     1                                                                                                                                               ___



                                                                                                     SuperiorCourt ❑                     Magistrate Court ❑
          Civil Action No. 21Evoo11s4                                                                State Court    I~                   Probate Court    ❑
                                                                                                     Juvenile Court ❑

         Date Filed Feb. 23, 2021                                                                    Georgia, Fulton                             COUNTY
                                                                                                      Tammie Lowe
         Attorney's Address

           Daniel Shim / Morriss, Shim & Davis
                                                                                                                                                   Plaintiff           ;
           2233 Peachtree RD NE Ste. 212
                                                                                                                   VS.

           Atlanta, GA 30309

                                                                                                     Family Dollar Stores of Georgia, LLC, Eastpoint FD
         Name and Address of Party to Served
                                                                                                     Freestanding, LLC, ABC CO., LLC and XYZ, Inc.
         Registered Agent for Family Dollar Stores of Georgia LLC
                                                                                                                                                   Defendant
         Corporation Service Company


         40 Technology Parkway South # 300, Norcross, GA 300r2

                                                                                                                                                   Garnishee
                                                                    SHERIFF'S ENTRY OF SERVICE

         PERSONAL
         I have this day served the defendant                                                                                            personally with a copy            'V.
❑        of the within action and summons.                                                                                                                                 1,:.
                                                                                                                                                                           ~
         NOTORIOUS
         I have this day served the defendant                                                                                                       by leaving a
         copy of the action and summons at his most notorious place abode in this County.

❑    Delivered same into hands of                                                                                                        described as follows:
     age, about               years; weight                         pounds; height             feet and                   inches, domiciled at the residence of
     defendant.

     CORPORATION                     Ft.               ~', .   I         :"
     Served the defendant            €" ~ '                                                                                                        a corporation

     by leaving a copy of the within actiona"Jnd summons with
~    In charge of the office and place of doing business of said Corporation in this County.

     TACK & MAIL
     I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
     designated in said affidavit and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
❑    envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing
                                                                                                                                                 notice
     to the defendant(s) to answer said summons at the place stated in the summons.

     NON EST
     Diligent search made and defendant
❑    not to be found in the jurisdiction of this Court.


     This              day of        i                         20_: ~                                                         s

                                                                                                              t`"•~"`                               c'"            }
               DEPUT'Y                                                                                    "
                                                                        CLERK'S COPY                                — ,
                    Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 13 of 31
                                                                        State Court of Fulton County
                                                                                     ***EFILED***
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                                                                                  Case Number: 21EV001154
                                                                                 Date: Mar 10 2021 09:01AM
                                                                             Christopher G. Scott, Chief Clerk
                                                                                                Civil Division




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        Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 14 of 31                      **E-FILED**
                                                                                             21EV001154
                                                                                     3/31/2021 10:44 AM
                                                                             Christopher G. Scott, Clerk
                                                                                            Civil Division
                        IN THE STATE COURT OF FULTON COUNTY

                                    STATE OF GEORGIA

  TAMMIE LOWE,

       Plaintiff,                                 Civil Action
                                                  File No.:      21EV001154

  v.

  FAMILY DOLLAR STORES OF GEORGIA,
  LLC, EASTPOINT FD FREESTANDING,
  LLC, ABC CO., LLC, and XYZ, INC.,

       Defendant.

           AFFIRMATIVE DEFENSES AND ANSWER OF EASTPOINT FD
                          FREESTANDING, LLC

       COMES NOW, Eastpoint FD Freestanding, LLC, named Defendant in the above

styled action, and files the following Defenses and Answer to Plaintiff’s Complaint and

shows the Court as follows:

                                     FIRST DEFENSE

       The Complaint fails to set forth a claim against this Defendant upon which relief can

be granted.

                                   SECOND DEFENSE

       For a Second Defense, the Defendant answers the numbered paragraphs of the

Complaint as follows:
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 15 of 31




                      PARTIES, JURISDICTION AND VENUE

                                           1.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 1 of the Complaint and, therefore, cannot

admit or deny same.

                                           2.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 2 of the Complaint and, therefore, cannot

admit or deny same.

                                           3.

      Defendant admits the allegations contained in Paragraph 3 of the Complaint.

                                           4.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 4 of the Complaint and, therefore, cannot

admit or deny same.

                               SUBSTANTIVE FACTS

                                           5.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 5 of the Complaint and, therefore, cannot

admit or deny same.

                                           6.

      Defendant denies as pled the allegations contained in Paragraph 6 of the

Complaint.

                                           7.


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       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 16 of 31




       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 7 of the Complaint and, therefore, cannot

admit or deny same.

                                            8.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8 of the Complaint and, therefore, cannot

admit or deny same.

                                            9.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 9 of the Complaint and, therefore, cannot

admit or deny same.

                                       COUNT I:

 LIABILITY OF DEFENDANT FAMILY DOLLAR STORES OF GEORGIA, LLC

                                           10.

       Defendant hereby incorporates the foregoing responses and defenses as if set forth

expressly herein.

                                           11.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 11 of the Complaint and, therefore, cannot

admit or deny same.

                                           12.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 12 of the Complaint and, therefore, cannot

admit or deny same.


                                           -3-
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 17 of 31




                                           13.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 13 of the Complaint and, therefore, cannot

admit or deny same.

                                           14.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 14 of the Complaint and, therefore, cannot

admit or deny same.

                                           15.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 15 of the Complaint and, therefore, cannot

admit or deny same.

                                           16.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 16 of the Complaint and, therefore, cannot

admit or deny same.

     COUNT II: NEGLIGENCE OF EASTPOINT FD FREESTANDING, LLC

                                           17.

       Defendant hereby incorporates the foregoing responses and defenses as if set forth

expressly herein.

                                           18.

       Defendant denies the allegations contained in Paragraph 18 of the Complaint.

                                           19.

       Defendant denies the allegations contained in Paragraph 19 of the Complaint.


                                           -4-
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 18 of 31




                                           20.

       Defendant denies the allegations contained in Paragraph 20 of the Complaint.

                                           21.

       Defendant denies the allegations contained in Paragraph 21 of the Complaint.

                                           22.

       Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                                           23.

       Defendant denies the allegations contained in Paragraph 23 of the Complaint.

          COUNT III: NEGLIGENCE OF ABC, CO., LLC AND XYZ, INC.

                                           24.

       Defendant incorporates the foregoing responses and defenses as if set forth

expressly herein.

                                           25.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 25 of the Complaint and, therefore, cannot

admit or deny same.

                                      DAMAGES

                                           26.

       Defendant incorporates the foregoing responses and defenses as if set forth

expressly herein.

                                           27.

       Defendant denies the allegations contained in Paragraph 27 of the Complaint.

                                           28.

       Defendant denies the allegations contained in Paragraph 28 of the Complaint.


                                           -5-
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 19 of 31




                                              29.

       Defendant denies the allegations contained in the PRAYER FOR RELIEF

paragraph, including subparagraphs (a) through (g).

                                             30.

       Any allegation of the Complaint not admitted, denied or otherwise responded to

above is hereby denied.

                                      THIRD DEFENSE

       Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                    FOURTH DEFENSE

       Defendant shows that the alleged damages of Plaintiff, if any, were caused by the

contributory and comparative negligence of Plaintiff.

                                      FIFTH DEFENSE

       Plaintiff, by the exercise of ordinary care, could have avoided the consequences of

any act or failure to act of Defendant.

                                      SIXTH DEFENSE

       Defendant is not liable to Plaintiff because the negligence of Plaintiff equaled or

preponderated over any acts or omissions of Defendant in producing or in bringing about

the occurrence complained of, but Defendant denies that any act of Defendant produced,

brought about, caused, or contributed to in any manner whatsoever the occurrence

complained of in the Complaint.

                                    SEVENTH DEFENSE

       Defendant is an out of possession landlord.




                                             -6-
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 20 of 31




                                     EIGHTH DEFENSE

       The claims of Plaintiff are barred by the Georgia doctrine of assumption of risk.

                                      NINTH DEFENSE

       Plaintiff’s injuries, if any, were caused by an unforeseeable intervening third party

tortfeasor and/or the acts and failure to act of persons or entities other than Defendant.

                                      TENTH DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person of this Defendant, improper venue, and insufficiency of

process and service of process as to this Defendant.

                                   ELEVENTH DEFENSE

       In the event that any benefits have been paid by or on behalf of Defendant,

Defendant is entitled to a set off against any verdict for the amount of benefits paid. See,

Orndorff v. Brown, 197 Ga. App. 591 (1990).


       WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.


This 31st day of March, 2021.


                        [SIGNATURE ON THE FOLLOWING PAGE]




                                              -7-
     Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 21 of 31




                            Goodman McGuffey LLP
                            Attorneys for Family Dollar Stores of Georgia, LLC and
                            Eastpoint FD Freestanding, LLC


                      By:   _/s/James T. Hankins, III_________
                            James T. Hankins, III
                            GA State Bar No.: 188771
                            jhankins@GM-LLP.com
                            Samantha M. Mullis
                            GA State Bar No.: 365592
                            smullis@gm-llp.com
                            3340 Peachtree Road NE, Suite 2100
                            Atlanta, GA 30326-1084
                            (404) 264-1500 Phone
                            (404) 264-1737 Fax


DEFENDANT DEMANDS
TRIAL BY JURY OF TWELVE




                                    -8-
        Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 22 of 31




                       IN THE STATE COURT OF FULTON COUNTY

                                       STATE OF GEORGIA

  TAMMIE LOWE,

       Plaintiff,                                 Civil Action
                                                  File No.:      21EV001154

  v.

  FAMILY DOLLAR STORES OF
  GEORGIA, LLC, EASTPOINT FD
  FREESTANDING, LLC, ABC CO., LLC,
  and XYZ, INC.,

       Defendant.

                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served all counsel and parties of record with a

copy of Affirmative Defenses and Answers of Eastpoint FD Freestanding, LLC

by statutory electronic service pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of

same in the United States Mail, postage prepaid, as follows:

                                    Daniel Shim, Esq.
                                Morriss, Shim, Davis, LLC
                            2233 Peachtree Road NE, Suite 212
                                   Atlanta, GA 30309

                                  Jordan T. Davis, Esq.
                               Morriss, Shim, Davis, LLC
                            2233 Peachtree Rd., NE, Suite 212,
                                 Atlanta, Georgia 30309


       This 31st day of March, 2021.




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Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 23 of 31




                 By:   _/s/James T. Hankins, III_________
                       James T. Hankins, III
                       GA State Bar No.: 188771
                       jhankins@GM-LLP.com
                       Goodman McGuffey LLP
                       3340 Peachtree Road NE, Suite 2100
                       Atlanta, GA 30326-1084
                       (404) 264-1500 Phone
                       (404) 264-1737 Fax




                             - 10 -
     Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 24 of 31
                                                                           State Court of Fulton County
                                                                                        ***EFILED***
                                                                                    File & ServeXpress
                       IN THE STATE COURT OF FULTON COUNTY                            Transaction ID: 66547475
                                                                                    Case Number: 21EV001154
                                 STATE OF GEORGIA                                   Date: Apr 26 2021 01:32PM
                                                                               Christopher G. Scott, Chief Clerk
TAMMIE LOWE,                                )                                                     Civil Division
                                            )
       Plaintiff,                           )       CIVIL ACTION FILE NO.
                                            )
FAMILY DOLLAR STORES OF                     )       21EV001154
GEORGIA, LLC, EASTPOINT FD                  )
FREESTANDING, LLC, ABC CO., LLC, )
And XYZ, INC.,                   )
                                            )
       Defendants.                          )

                                5.2 CERTIFICATE OF SERVICE

       This is to certify in accordance with Uniform Superior Court Rule 5.2 that I have this day

served counsel for the opposing party in the foregoing matter with a copy of Plaintiffs

Responses to Defendant Family Dollar Stores of Georgia, LLC’s First Interrogatories and

Requests for Production of Documents by depositing a copy of same in the United States Mail,

postage prepaid, as follows:

                                     Samantha M. Mullis
                                   Goodman McGuffey LLP
                                   3340 Peachtree Road, NE
                                          Suite 2100
                                   Atlanta, GA 30326-1084


       Respectfully submitted this 26th day of April, 2021.

                                                    MORRISS | SHIM | DAVIS, LLC

                                                    /s/ Jordan T. Davis_______
                                                   Jordan T. Davis
                                                   Georgia State Bar No. 492277
2233 Peachtree Rd., NE                             Attorney for Plaintiff
Suite 212
Atlanta, Georgia 30309
P: 404-525-8000
F: 404-525-2573
iordan@msdlawgroup.com
       Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 25 of 31
                                                           State Court of Fulton County
                                                                         ***EFILED***
                                                                     File & ServeXpress
                                                                   Transaction ID: 66547475
                    IN THE STATE COURT OF FULTON COUNTY
                                                                  Case Number: 21EV001154
                              STATE OF GEORGIA                    Date: Apr 26 2021 01:32PM
                                                                               Christopher G. Scott, Chief Clerk
TAMMIE LOWE,                     )                                                               Civil Division
                                 )
     Plaintiff,                  )                  CIVIL ACTION FILE NO.
                                 )
FAMILY DOLLAR STORES OF          )                  21EV001154
GEORGIA, LLC, EASTPOINT FD       )
FREESTANDING, LLC, ABC CO., LLC, )
And XYZ, INC.,                   )
                                 )
     Defendants.                 )

                                5.2 CERTIFICATE OF SERVICE

       This is to certify in accordance with Uniform Superior Court Rule 5.2 that I have this day

served counsel for the opposing party in the foregoing matter with a copy of Plaintiff’s

Responses to Defendant Family Dollar Stores of Georgia, LLC’s First Interrogatories and

Requests for Production of Documents by depositing a copy of same in the United States Mail,

postage prepaid, as follows:

                                     Samantha M. Mullis
                                   Goodman McGuffey LLP
                                   3340 Peachtree Road, NE
                                          Suite 2100
                                   Atlanta, GA 30326-1084


       Respectfully submitted this 26th day of April, 2021.

                                                    MORRISS | SHIM | DAVIS, LLC

                                                    _/s/ Jordan T. Davis
                                                    Jordan T. Davis
                                                    Georgia State Bar No. 492277
2233 Peachtree Rd., NE                              Attorney for Plaintiff
Suite 212
Atlanta, Georgia 30309
P: 404-525-8000
F: 404-525-2573
jordan@msdlawgroup.com
                                                                                State Court of Fulton County
        Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 26 of 31                          **E-FILED**
                                                                                                 21EV001154
                                                                                          5/13/2021 3:24 PM
                                                                                 Christopher G. Scott, Clerk
                                                                                                Civil Division

                            IN THE STATE COURT OF FULTON COUNTY
                                      STATE OF GEORGIA

TAMMIE LOWE,                                  )
                                              )
        Plaintiff,                            )      CIVIL ACTION FILE NO.
                                              )
FAMILY DOLLAR STORES OF                       )      21EV001154
GEORGIA, LLC, EASTPOINT FD                    )
FREESTANDING, LLC, ABC CO., LLC               )
And XYZ, INC.,                                )
                                              )
        Defendants.                           )

                        CONSENT MOTION TO DROP AND DISMISS
                     DEFENDANT EASTPOINT FD FREESTANDING, LLC

        COME NOW Plaintiffs and Defendants, by and through their respective attorneys, and

move with the consent and agreement of the parties and pursuant to O.C.G.A. § 9-11-21 for an

Order    dropping     and    dismissing    without   prejudice   Defendant   EASTPOINT        FD

FREESTANDING, LLC (“Dismissed Defendant”) upon the following conditions:

        a.       In the event facts arise necessitating the addition of any Dismissed Defendant

                 back into this action, Plaintiff may serve the Dismissed Defendant without leave

                 of court, and undersigned counsel for the Dismissed Defendant will timely

                 accept and acknowledge service of Plaintiff’s Complaint;

        b.       In the event that the Dismissed Defendant is added back into this action, such

                 Dismissed Defendant shall be afforded no less than ninety (90) days before trial

                 is requested or scheduled in which to assert any crossclaims, complete

                 discovery, and prepare for trial;

        c.       In the event that the Dismissed Defendant is added back into this action, the

                 Dismissed Defendant shall be afforded the usual response period allowed under
      Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 27 of 31




              the Georgia Civil Practice Act in which to file an Answer, defensive pleadings,

              defensive motions, and/or any other responsive documents.

       WHEREFORE, Plaintiffs and Defendants pray that this motion be granted and that the

Court enter the attached Consent Order dropping and dismissing Eastpoint FD Freestanding,

LLC without prejudice with all claims against Defendant Family Dollar Store of Georgia to

remain pending. A Proposed Order is attached as Exhibit A herein.

       This 13th day of May, 2021



MORRISS | SHIM | DAVIS                      GOODMAN MCGUFFEY LLP

_/s/Jordan T. Davis w/ express              _/s/James T. Hankins, III___________
permission__                                James T. Hankins, III
Daniel Shim                                 Georgia Bar No. 188771
Georgia Bar No. 649742                      Samantha M. Mullis
Jordan T. Davis                             Georgia State Bar No. 365592
Georgia Bar No. 492277
                                            3340 Peachtree Road NE,
2233 Peachtree Rd NE                        Suite 2100
Suite 212                                   Atlanta, GA 30326
Atlanta, GA 30309                           jhankins@gm-llp.com
dan@msdlawgroup.com                         smullis@gm-llp.com
jordan@msdlawgroup.com                      P: 404-264-1500
P: 404-525-8000                             F: 404-264-1737
F: 404-525-2573
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                          IN THE STATE COURT OF FULTON COUNTY

                                        STATE OF GEORGIA

  TAMMIE LOWE,

       Plaintiff,                                     Civil Action
                                                      File No.:       21EV001154

  v.

  FAMILY DOLLAR STORES OF
  GEORGIA, LLC, EASTPOINT FD
  FREESTANDING, LLC, ABC CO., LLC,
  and XYZ, INC.,

        Defendant.

                                   CERTIFICATE OF SERVICE

       This is to certify that I have this day served all counsel and parties of record with a copy of

Consent Motion to Drop and Dismiss Defendant Eastpoint FD Freestanding, LLC by statutory

electronic service pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of same in the United

States Mail, postage prepaid, as follows:

                                        Daniel Shim, Esq.
                                   Morriss, Shim, Davis, LLC
                                2233 Peachtree Road NE, Suite 212
                                       Atlanta, GA 30309

                                      Jordan T. Davis, Esq.
                                   Morriss, Shim, Davis, LLC
                                2233 Peachtree Rd., NE, Suite 212,
                                     Atlanta, Georgia 30309


       This 13th day of May, 2021.
Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 29 of 31




                  By:   _/s/James T. Hankins, III_________
                        James T. Hankins, III
                        GA State Bar No.: 188771
                        jhankins@GM-LLP.com
                        Goodman McGuffey LLP
                        3340 Peachtree Road NE, Suite 2100
                        Atlanta, GA 30326-1084
                        (404) 264-1500 Phone
                        (404) 264-1737 Fax
      Case 1:21-cv-02275-CAP Document 1-1 Filed 06/02/21 Page 30 of 31



                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

TAMMIE LOWE,                                )
                                            )
       Plaintiff,                           )       CIVIL ACTION FILE NO.
                                            )
FAMILY DOLLAR STORES OF                     )       21EV001154
GEORGIA, LLC, EASTPOINT FD                  )
FREESTANDING, LLC, ABC CO., LLC             )
And XYZ, INC.,                              )
                                            )
       Defendants.                          )

              ORDER DROPPING AND DISMISSING PARTY DEFENDANT

       The Consent Motion to Drop and Dismiss Defendant Eastpoint FD Freestanding, LLC as

party Defendant having been read and considered,

       IT IS HEREBY ORDERED that said Motion is GRANTED and that Defendant Eastpoint

FD Freestanding, LLC is hereby dropped and dismissed from the above-styled action without

prejudice, with the caption of this case amended accordingly.

       It is further ORDERED that this action shall continue with respect to Plaintiff’s' claims

against Defendant Family Dollar Store of Georgia, LLC and that said claims shall not be

impacted in any manner due to the dismissal of Defendant Eastpoint FD Freestanding, LLC.

       SO ORDERED, this _______day of ______________, 2021


                                            ____________________________
                                            Judge, State Court of Fulton County

cc:    Daniel Shim
       James T. Harkins, III
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                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

TAMMIE LOWE,                                )
                                            )
       Plaintiff,                           )       CIVIL ACTION FILE NO.
                                            )
FAMILY DOLLAR STORES OF                     )       21EV001154
GEORGIA, LLC, EASTPOINT FD                  )
FREESTANDING, LLC, ABC CO., LLC             )
And XYZ, INC.,                              )
                                            )
       Defendants.                          )

              ORDER DROPPING AND DISMISSING PARTY DEFENDANT

       The Consent Motion to Drop and Dismiss Defendant Eastpoint FD Freestanding, LLC as

party Defendant having been read and considered,

       IT IS HEREBY ORDERED that said Motion is GRANTED and that Defendant Eastpoint

FD Freestanding, LLC is hereby dropped and dismissed from the above-styled action without

prejudice, with the caption of this case amended accordingly.

       It is further ORDERED that this action shall continue with respect to Plaintiff’s' claims

against Defendant Family Dollar Store of Georgia, LLC and that said claims shall not be

impacted in any manner due to the dismissal of Defendant Eastpoint FD Freestanding, LLC.
                                       5/13/2021
       SO ORDERED, this _______day of ______________, 2021


                                            ____________________________
                                            Judge, State Court of Fulton County

cc:    Daniel Shim
       James T. Harkins, III
